                  UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


FARHAD AZIMA,

                    Plaintiff,

v.
                                              CASE NO. 1:20-cv-00954-WO-JLW
NICHOLAS DEL ROSSO and VITAL
MANAGEMENT SERVICES, INC.,

                    Defendants.



                                 NOTICE OF FILING

      PLEASE TAKE NOTICE that Shanahan Law Group, PLLC (“SLG”) filed its

Motion to Quash Plaintiff Farhad Azima’s (“Plaintiff”) [revised] Subpoena to First

National Bank of Pennsylvania [D.E. 133] with its Memorandum of Law in Support

of SLG’s Motion to Quash [D.E. 134] on January 30, 2023. SLG hereby submits

Plaintiff’s revised Subpoena to First National Bank, attached hereto as Exhibit A and

incorporated herein by reference, for completeness of the Court’s docket.


      Respectfully submitted, this the 7th day of March, 2023.

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                          CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of March, 2023, I electronically filed the
foregoing Notice of Filing with the Clerk of the Court using the CM/ECF system,
which will send electronic notification of filing to the following:

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